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                      UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF COLUMBIA



  KURT BEACHNER,

                             Plaintiff,
                                                    Case No. 1:23-cv-00494-TJK
                 v.

  HOWARD UNIVERSITY et al.,

                             Defendant.




                                 NOTICE OF APPEAL

       Plaintiff Kurt Beachner, by and through counsel, hereby appeals to the United States

Court of Appeals for the District of Columbia Circuit, the United States District Court for

the District of Columbia's June 21, 2023 Order granting in part Defendant’s Motion

to Dismiss and March 25, 2025 Order granting Defendant’s Motion for Summary Judgment

and all interim orders.



Date: April 24, 2025                                   Respectfully submitted,


                                                       /s/ David A. Branch
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of April, 2025, the foregoing was served

electronically via the CM/ECF filing system on all counsel of record for Defendant listed below.



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                                                            /s/ David A. Branch
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